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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 24-1113                                                     September Term, 2023
                                                                        DOJ-Pub. L. No. 118-50
                                                           Filed On: June 13, 2024
TikTok Inc. and ByteDance Ltd.,

                 Petitioners

        v.

Merrick B. Garland, in his official capacity as
Attorney General of the United States,

                 Respondent


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Consolidated with 24-1130


        BEFORE:           Katsas, Rao, and Childs, Circuit Judges

                                  PROTECTIVE ORDER

       This Protective Order shall govern the parties’ production, use, and submission
of Confidential Information or material claimed as Confidential Information in the course
of cases No. 24-1113, 24-1130, and any consolidated cases, and shall preclude use of
such Confidential Information for purposes other than cases No. 24-1113, 24-1130, and
any consolidated cases except as described herein.

      1.      No document containing, referring to, or otherwise disclosing Confidential
Information shall be publicly filed with the Court. Confidential Information shall be
submitted to the Court only under seal in accordance with D.C. Circuit Rule 47.1 and
Paragraph 3(a) of this Order.

        2.     Confidential Information shall mean any (i) trade secrets or other
confidential research, development, or commercial information; and (ii) private personal
information of employees and other individuals. Information that is or becomes
available to a party through means other than as a result of a violation of this Order or a
violation of other confidentiality requirements shall not constitute Confidential
Information.
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     3.     For purposes of this matter, Confidential Information shall be designated,
marked, and managed as follows:

             a)     Briefs, pleadings, and other material filed with the Court that
             contain or disclose Confidential Information shall be filed in accordance
             with D.C. Circuit Rule 47.1, with two sets of briefs filed and all portions that
             include Confidential Information filed only under seal.

             b)     A party or non-party may designate as Confidential Information any
             portion of a document, material, or other information (electronic or
             otherwise) in the course of this action. Those portions of documents or
             other material containing Confidential Information shall be marked
             “SUBJECT TO PROTECTIVE ORDER IN CASES NO. 24-1113 & 24-
             1130” and may also include the case numbers for other cases in which the
             material is subject to a protective order. If only a portion or portions of the
             material on a page qualifies for protection under this Order, the party or
             non-party claiming Confidential Information must identify the protected
             portion or portions. The party or non-party asserting a claim of
             Confidential Information shall also make available a version of the
             document that redacts those portions for which it has asserted a claim of
             Confidential Information. This protective order does not govern any ex
             parte submission by the government of classified or otherwise protected
             national-security information.

             c)     A party who intends to present argument or other material
             containing Confidential Information shall so advise the parties and the
             Court so that any appropriate steps may be taken before such
             presentation is made and shall arrange for the pages of any transcript
             containing such information to be marked “SUBJECT TO PROTECTIVE
             ORDER IN CASES NO. 24-1113 & 24-1130” and may also include the
             case numbers for others in which the material is subject to a protective
             order.

         4.    Confidential Information shall be received by and held in strict confidence
by the parties and shall be used only for the purposes of this action, and shall not be
used (except by the party or non-party who designated such information as Confidential
Information) for any purpose outside of this action except as provided herein. Except as
provided in Paragraph 7 of this Order, Confidential Information may be disclosed only
to: (i) the Court and court personnel, including any court reporters, provided that any
pleading or other document filed with the Court that contains or discloses material

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designated as Confidential Information is filed under seal according to Paragraph 3(b) of
this Order, (ii) Petitioners and counsel for Petitioners, including in-house counsel for
Petitioners and their respective employees assisting in this action and outside counsel
retained by Petitioners to represent them in this action, including employees,
contractors, and clerical, secretarial, and paralegal support staff, (iii) employees,
contractors, or unpaid interns of the United States involved in this action, and (iv) after
signature by each such person of the Certification (Attachment A hereto) that he or she
has received a copy of this Order and agrees to be bound thereby, testifying or
consulting experts, and their support staff, in connection with this action. Each of the
persons described in (i)-(iv) of this Paragraph 4 shall be a “Qualified Person.”

       5.      No Qualified Person listed in Paragraph 4(ii)-(iv) of this Order may
disseminate any Confidential Information except as expressly authorized in this Order or
as required by law, including a court order. If Confidential Information is disclosed other
than as authorized by this Order, the party responsible for the unauthorized disclosure
shall promptly take remedial action, including by notifying the designating party or non-
party of the disclosure and making all reasonable efforts to obtain the return of the
Confidential Information and to prevent further unauthorized disclosure.

        6.     Counsel of record for each party shall be responsible for obtaining all
Certifications required by this Order in advance of any disclosure that may be permitted
by this Order, and maintaining in safekeeping all original Certifications.

       7.     Nothing in this Order shall limit the use by a party of its own Confidential
Information, nor prevent a party or non-party from disclosing its own Confidential
Information to any person. Such disclosures shall not affect any designation made
pursuant to the terms of this Order. Nothing in this Order shall limit the government’s
use of Confidential Information for other governmental purposes, including any
administrative, regulatory, or criminal investigation or enforcement proceedings;
disclosure to Congress or to any duly authorized committee or subcommittee of
Congress; national-security analysis or actions, including disclosure to any foreign
governmental entity of a United States ally or partner to the extent necessary for
national security purposes, and subject to appropriate confidentiality and classification
requirements; and foreign-policy analysis and implementation.

       8.     Any party may challenge the designation of Confidential Information by
serving written notice of such challenge on counsel for the designating party or non-
party within 14 days of receiving documentation or material. The party opposing the
Confidential Information designation may then file an appropriate motion or other
submission with the Court. Challenged material that is the subject of a proper motion

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shall be considered Confidential Information until the motion is considered and ruled
upon.

       9.      Confidentiality under this Order is to be maintained both during and after
the final disposition of this action.

       10.    The production, use, and submission, pursuant to the terms of this Order,
of Confidential Information shall not be construed as a waiver by any person or entity of
any claim of Confidential Information.

IT IS SO ORDERED.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Selena R. Gancasz
                                                         Deputy Clerk




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                                    ATTACHMENT A

                                       Certification

       I, ____________________________________, hereby certify under penalty of
perjury that I have received a copy of and read the Protective Order Governing
Confidentiality relating to the confidentiality of information in TikTok Inc., et al. v.
Garland, Case No. 24-1113 (D.C. Cir.), and Firebaugh v. Garland, Case No. 24-1130
(D.C. Cir.), and I agree to, and will, keep information confidential in accordance with the
terms of said Protective Order Governing Confidentiality.



                                              Signature                               Date




                                              Affiliation or Employer




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